    Case: 1:19-cv-01765 Document #: 52 Filed: 10/11/19 Page 1 of 2 PageID #:485




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 Crave Products, Inc.            )
                                 )                       Case No. 1:19-cv-1765
 v.                              )
                                 )                       Judge: Hon. Gary Feinerman
 THE PARTNERSHIPS and            )
 UNINCORPORATED ASSOCIATEIONS )                          Magistrate: Hon. Susan E. Cox
 Hon. IDENTIFIED ON SCHEDULE “A” )
                                 )

                      AGREED MOTION TO VACATE AND DISMISS

       Plaintiff and Doe Defendant No. 381, “Galaxy Shop US,” Seller ID A11T8XH9A7H075,

an Amazon storefront owned by Shenzhen Zengshichuangyi WujinDianzi Youxiangongsi

("Wujin Dianzi") agree to vacate the Final Judgement as it applies to Wujin Dianzi and dismiss

Wujin Dianzi from this suit with prejudice.

Dated this 7th Day of October 2019                  Respectfully submitted,



                                              By:    s/David Gulbransen/
                                                    David Gulbransen
                                                    Attorney of Record
                                                    Counsel for Plaintiff

                                                    David Gulbransen (#6296646)
                                                    Law Office of David Gulbransen
                                                    Counsel for Plaintiff
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                                                    (312) 361-0825 p.
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    Case: 1:19-cv-01765 Document #: 52 Filed: 10/11/19 Page 2 of 2 PageID #:485




                      IN THE UNITED STATES DISTRICT COURT
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 Hon. IDENTIFIED ON SCHEDULE “A” )
                                 )

                                    [Proposed] ORDER

      The Final Judgement Order [45], issued July 16, 2019, is hereby

      VACATED as it applies to Defendant No. 381, “Galaxy Shop US,” Seller ID

A11T8XH9A7H075, an Amazon storefront owned by Shenzhen Zengshichuangyi WujinDianzi

Youxiangongsi, and

      this Defendant is hereby DISMISSED from this suit, with prejudice.



IT IS SO ORDERED.

Dated: ____ Day of October 2019


                                          U.S. District Court Judge Hon. Gary Feinerman
